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 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                            CASE NO. 1:22-CR-00309-ADA-DAM
11
                                   Plaintiff,
12                                                        STIPULATION REGARDING EXCLUDABLE
                            v.                            TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                                                        ORDER
     LUIS MAURICIO CASTENON,
14                                                        CURRENT DATE: February 8, 2023
                                  Defendant.              TIME: 1:00 p.m.
15                                                        COURT: Hon. Barbara A. McAuliffe
16

17                                                STIPULATION
18          Plaintiff United States of America, by and through its counsel of record, and LUIS MAURICIO
19 CASTENON, by and through defendant’s counsel of record, E. MARSHALL HODGKINS, hereby

20 stipulate as follows:

21          1.      By previous order, this matter was set for status on February 8, 2023.
22          2.      By this stipulation, defendant now moves to continue the status conference until April 26,
23 2023, and to exclude time between February 8, 2023, and April 26, 2023, under 18 U.S.C.§

24 3161(h)(7)(A), B(iv) [Local Code T4].

25          3.      While the parties anticipate that the case may resolve without a trial, this is not yet a
26 certainty. If defendant ultimately does not enter a guilty plea and decides to proceed to trial, the parties
27 agree and stipulate, and request that the Court find the following:

28                  a)      The government asserts the initial discovery in this matter has been provided to


      STIPULATION FOR PROTECTIVE ORDER                    1
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 1          counsel. The government is aware of its ongoing discovery obligations.

 2                 b)      The government is amendable to providing a plea offer if defendant makes such a

 3          request.

 4                 c)      Counsel for the defendant desires additional time to consult with his client, to

 5          review the current charges, to conduct investigation and research related to the charges, to review

 6          and/or copy discovery for this matter, to discuss potential resolutions with his client, to prepare

 7          pretrial motions, and to otherwise prepare for trial.

 8                 d)      Counsel for defendant believes that failure to grant the above-requested

 9          continuance would deny them the reasonable time necessary for effective preparation, taking into

10          account the exercise of due diligence.

11                 e)      The government does not object to the continuance.

12                 f)      Based on the above-stated findings, the ends of justice served by continuing the

13          case as requested outweigh the interest of the public and the defendant in a trial within the

14          original date prescribed by the Speedy Trial Act.

15                 g)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

16          et seq., within which trial must commence, the time period of February 8, 2023 to April 26,

17          2023, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

18          T4], because it results from a continuance granted by the Court at defendant’s request on the

19          basis of the Court’s finding that the ends of justice served by taking such action outweigh the

20          best interest of the public and the defendant in a speedy trial.

21          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

22 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

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      STIPULATION FOR PROTECTIVE ORDER                    2
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 2          must commence. IT IS SO STIPULATED.

 3
            DATED: February 1, 2023                   PHILLIP A. TALBERT
 4                                                    United States Attorney
 5
                                                      By: /s/ Jessica A. Massey
 6                                                    JESSICA A. MASSEY
                                                      Assistant U.S. Attorney
 7

 8
            DATED: February 1, 2023                   By: /s/ E. Marshall Hodgkins III
 9                                                    E. MARSHALL HODGKINS III
                                                      Attorney for Defendant
10                                                    LUIS MAURICIO CASTENON

11
                                                  ORDER
12
            IT IS SO ORDERED that the status conference is continued from February 8, 2023, to April 26,
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     2023, at 1:00 p.m. before Magistrate Judge Barbara A. McAuliffe. Time is excluded pursuant to 18
14
     U.S.C.§ 3161(h)(7)(A), B(iv).
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     IT IS SO ORDERED.
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17       Dated:   February 1, 2023                       /s/ Barbara A. McAuliffe            _
                                                   UNITED STATES MAGISTRATE JUDGE
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      STIPULATION FOR PROTECTIVE ORDER               3
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